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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TINA SHAY,                                  )       CIVIL ACTION NO. 2:09-cv-991
                                            )
                      Plaintiff,            )       JUDGE CERCONE
                                            )
       v.                                   )       ELECTRONICALLY FILED
                                            )
GATEWAY HEALTH PLAN,                        )
                                            )
                      Defendant.            )

                                   DISCLOSURE STATEMENT

              Pursuant to Federal Rule of Civil Procedure 7.1 and to enable Judges and Magistrate

Judges to evaluate possible disqualification or recusal, the undersigned counsel for Gateway Health

Plan, Defendant, in the above-captioned action, certifies that the following are corporate parents of

Defendant: Highmark, Inc. and Mercy Health Plan.

              Pursuant to Local Rule 7.1.1 of the Western District of Pennsylvania, Defendant further

certifies that although neither owner of Gateway Health Plan® is publicly traded, both Highmark, Inc.

and a corporate parent of Mercy Health Plan, Catholic Health East, have public debt offerings.

Dated: May 13, 2010                         Respectfully submitted,

                                            JACKSON LEWIS LLP

                                            /s/ Sunshine R. Fellows
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                                            Gateway Health Plan
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                               CERTIFICATE OF SERVICE

              I hereby certify that on May 13, 2010, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



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